23-30252-hcm Doc#111 Filed 07/07/23 Entered 07/07/23 23:25:14 Imaged Certificate of
                                Notice Pg 1 of 4




  The relief described hereinbelow is SO ORDERED.



  Signed July 05, 2023.

                                                        __________________________________
                                                               H. CHRISTOPHER MOTT
                                                        UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

  IN RE:                                       §      CASE NO. 23-30252-HCM
                                               §
  PASO DEL NORTE MATERIALS, LLC                §
                                               §
  DEBTOR.                                      §      CHAPTER 11

   ORDER AUTHORIZING AND AWARDING FIRST AND FINAL APPLICATION FOR
      COMPENSATION OF FEES AND EXPENSES OF MICHAEL G. COLVARD,
                       SUBCHAPTER V TRUSTEE

           WHEREAS, in said District, came on for consideration the First and Final Application for

  Compensation of Fees and Expenses WKH³Final $SSOLFDWLRQ´ of Michael G. Colvard ³Colvard,´

  ³$SSOLFDQW´DQGRU³7UXVWHH´), as Subchapter V Trustee, seeking final allowance of compensation

  and reimbursement of actual and necessary expenses for the period of March 28, 2023 through May

  16, 2023 in the amount of Three Thousand Eight Hundred Forty Dollars and 00/100 ($3,840.00),

  plus expenses in the amount of Fourteen Dollars and 18/100 ($14.18), plus Five Hundred Dollars

  and no/100 ($500.00) for finalizing, filing and hearing on this Application, for a total of Four

  Thousand Three Hundred Fifty-Four Dollars and 18/100 ($4,354.18), and the Court finding that the
23-30252-hcm Doc#111 Filed 07/07/23 Entered 07/07/23 23:25:14 Imaged Certificate of
                                Notice Pg 2 of 4


  compensation should be awarded and the reimbursement of out-of-pocket expenses should be

  allowed. It is therefore. . .

          ORDERED, ADJUDGED and DECREED that Colvard be and hereby is, awarded his final

  compensation for fees in the amount of $4,340.00 and expenses of $14.18. It is further. . .

          ORDERED, ADJUDGED and DECREED that Colvard be and hereby is provided final

  approval for all fees and expenses awarded for services provided within this proceeding between

  March 28, 2023 through May 16, 2023 in the amount of Three Thousand Eight Hundred Forty

  Dollars and 00/100 ($3,840.00), plus expenses in the amount of Fourteen Dollars and 18/100

  ($14.18), plus Five Hundred Dollars and no/100 ($500.00) for finalizing, filing and hearing on this

  Application, for a total of Four Thousand Three Hundred Fifty-Four Dollars and 18/100 ($4,354.18),

  which sum is to be paid pursuant to the terms of the Agreed Order Resolving the United States

  7UXVWHH¶V 2EMHFWLRQWR'HEWRU¶V(OHFWLRQWR3URFHHG8QGHU6XEFKDSWHU9>(&)1R73].

                                                 ###

  Submitted by:

  MARTIN & DROUGHT, P.C.
  Weston Centre
  112 East Pecan Street, Suite 1616
  San Antonio, Texas 78205
  Telephone: (210) 227-7591
  Facsimile: (210) 227-7924
  Email: mcolvard@mdtlaw.com

  By:/s/ Michael G. Colvard
         MICHAEL G. COLVARD
         State Bar No. 0462920

  SUBCHAPTER V TRUSTEE




                                                  2
        23-30252-hcm Doc#111 Filed 07/07/23 Entered 07/07/23 23:25:14 Imaged Certificate of
                                        Notice Pg 3 of 4
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-30252-hcm
Paso Del Norte Materials, LLC                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 05, 2023                                               Form ID: pdfintp                                                          Total Noticed: 11
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 07, 2023:
Recip ID                   Recipient Name and Address
db                     +   Paso Del Norte Materials, LLC, 8000 Escobar Dr., El Paso, TX 79907-1854
tr                     +   Michael G. Colvard, Martin & Drought, PC, Weston Centre, 112 E Pecan St, Suite 1616, San Antonio, TX 78205-8902
cr                     +   4Rivers Equipment, LLC, c/o Clyde A. Pine, Jr., P.O. Box 1977, El Paso, TX 79999-1977
cr                     +   C&R DISTRIBUTING, LLC, Gordon Davis Johnson & Shane, PC, 4695 N. Mesa Street, Suite 100, El Paso, TX 79912 UNITED STATES
                           79912-6149
cr                     +   Clowe & Cowan of El Paso, LLC, c/o Michael J. Shane, 4695 N. Mesa Street, Suite 100, El Paso, TX 79912-6149
cr                     +   Joshua Ortega d/b/a Sunset Sand & Gravel, ScottHulse PC, c/o James Feuille, 201 E. Main Dr. Ste. 1100, El Paso, TX 79901-1340
intp                   +   Sean Kelley, 22911 Trailwood, Tomball, TX 77375-7107
cr                     +   Sumitomo Mitsui Finance and Leasing Co. Ltd., c/o Kye Law Group, P.C., 201 Old Country Road, Suite 120, Melville, NY 11747-2725
cr                     +   Wallwork Financial, c/o Padfield & Stout, LLP, Christopher V. Arisco, 420 Throckmorton Street, Suite 1210, Fort Worth, TX 76102-3792
cr                     +   Wells Fargo Equipment Finance, Inc., c/o James W. Brewer, P. O. Box 2800, El Paso, TX 79999-2800

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
cr                         Email/Text: sanantonio.bankruptcy@publicans.com
                                                                                        Jul 06 2023 06:49:00      City Of El Paso, Weston Centre, 112 E. Pecan St,
                                                                                                                  Suite 2200, San Antonio, TX 78205

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty              *+            Michael G. Colvard, Martin & Drought, PC, Weston Centre, 112 E Pecan St, Suite 1616, San Antonio, TX 78205-8902

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 07, 2023                                            Signature:           /s/Gustava Winters
        23-30252-hcm Doc#111 Filed 07/07/23 Entered 07/07/23 23:25:14 Imaged Certificate of
                                        Notice Pg 4 of 4
District/off: 0542-3                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jul 05, 2023                                           Form ID: pdfintp                                                      Total Noticed: 11



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 5, 2023 at the address(es) listed below:
Name                             Email Address
Aldo R Lopez
                                 on behalf of Creditor Prana Machinery Inc. alopez@raylaw.com, psoto@raylaw.com

Callan Clark Searcy
                                 on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division
                                 bk-csearcy@texasattorneygeneral.gov, sherri.simpson@oag.texas.gov

Christopher V. Arisco
                                 on behalf of Creditor Wallwork Financial carisco@padfieldstout.com carisco@livepad.com

Clyde A. Pine, Jr.
                                 on behalf of Creditor 4Rivers Equipment LLC pine@mgmsg.com, clyde.pine@gmail.com

Don Stecker
                                 on behalf of Creditor City Of El Paso don.stecker@lgbs.com

E. P. Bud Kirk
                                 on behalf of Plaintiff Paso Del Norte Materials LLC budkirk@aol.com

E. P. Bud Kirk
                                 on behalf of Debtor Paso Del Norte Materials LLC budkirk@aol.com

Erin Coughlin
                                 on behalf of U.S. Trustee United States Trustee - EP12 erin.coughlin@usdoj.gov
                                 roxana.peterson@usdoj.gov;carey.a.tompkins@usdoj.gov;omar.e.jones@usdoj.gov

Gregory Marc Weinstein
                                 on behalf of Creditor United States Fire Insurance Company gweinstein@weinrad.com
                                 cspringer@weinrad.com;smcfadin@weinrad.com

James Michael Feuille
                                 on behalf of Creditor Joshua Ortega d/b/a Sunset Sand & Gravel jfeu@scotthulse.com tmar@scotthulse.com;jcor@scotthulse.com

James W. Brewer
                                 on behalf of Creditor Wells Fargo Equipment Finance Inc. jbrewer@kempsmith.com, tschoemer@kempsmith.com

James W. King
                                 on behalf of Creditor Sumitomo Mitsui Finance and Leasing Co. Ltd. jking@offermanking.com

Jarom J Yates
                                 on behalf of Creditor 1st Source Bank jarom.yates@haynesboone.com kim.morzak@haynesboone.com

Matthew F Kye
                                 on behalf of Creditor Sumitomo Mitsui Finance and Leasing Co. Ltd. mkye@kyelaw.com mkye@magnozzikye.com

Michael J. Shane
                                 on behalf of Creditor C&R DISTRIBUTING LLC mshane@eplawyers.com, bsilva@eplawyers.com

Michael J. Shane
                                 on behalf of Creditor Clowe & Cowan of El Paso LLC mshane@eplawyers.com, bsilva@eplawyers.com

Steven B. Bass
                                 on behalf of Creditor United States Internal Revenue Service Steven.Bass@usdoj.gov tina.travieso@usdoj.gov

United States Trustee - EP12
                                 USTPRegion07.SN.ECF@usdoj.gov


TOTAL: 18
